
Thacher, J.
Where one tenant in common does an act which at common law is for the benefit of the whole, the same act will have the like operation and effect as it respects this species of corporation. The powers of proprietors of common and undivided lands are not abridged, but enlarged, by the statutes. I am therefore for admitting the evidence.
Sewall, J.
The question is, whether the acts of individuals claiming under the ancient proprietors, where there does not appear to have been any meetings, any corporate acts of the proprietors since the year 1756, can be given in evidence so as to support this action of trespass upon the possession of the proprietors, as such *124I think not. Corporate possession can be proved only by corporate acts; those acts can be proved by nothing but their | * 163 ] records. No corporation can claim or have* any ad van tage or benefit from the act of an individual, unless they make the act their own by some recognition. Here is no corporate act after the year 1756, which is more than forty years previous to commencing the present action—a time much beyond the time within which the proprietors, as such, could have maintained an action for the land itself. If the names of all the proprietors had been inserted in the writ, as at common law, the defendant could have come prepared to answer; but if, upon a corporate action, the defendant is to defend as at common law, he loses the advantage of knowing against whom he is to make his defence. I think, therefore, that the evidence ought not to be admitted.
Sedgwick, J.
In this case, the plaintiffs have appeared by their agent; and the defendant has pleaded the general issue. He is now estopped to say there is not such a propriety; and he is also estopped to say there is no agent; thus far the estoppel. It appearing then of record that there is such a corporation as named and described in the writ and declaration, the question is, whether the plaintiffs shall be admitted to prove the acts of individuals claiming to be, and actually being, proprietors, to show the possession of the plaintiffs at the time of the trespass alleged. From the year 1729 to 1756, there is evidence that the proprietors acted as a cor poration ; no evidence of any corporate acts since that time. And the evidence offered is objected to because it does not appear that these acts of individuals were, or have become, the acts of the proprietors, as proprietors. I think it competent for the plaintiffs to go into the evidence; but I will not be bound by an opinion now suddenly delivered. I think that proprietors, when they sue as-such by their corporate name, are in the same situation, as to the/ights of evidence and proof, as though the same proprietors, [ * 164 ] A, B, * C, &amp;c., had sued in their joint names, as at common law, for a trespass to their common property ; and that the statutes do not abridge their rights, but enable them to act, in certain instances, as -a corporation, and to sue as such. At common law, if a tenant in common enter and occupy, it is considered as the entry and occupation of the whole. The legislature has not declared that, when they incorporate, this common lav-principle shall be considered as taken away; and without such ex press declaration, I think it ought not to be supposed. An implication so unreasonable, so contrary to equity and justice, ought not to be made. I am for admitting the evidence.
Strong, J.
(after stating the question.) ' The existence of the *125corporation cannot now be called in question by the defendant. He has pleaded to the action. Nor can the authority of the agent be now disputed.
B. Whitman, for the plaintiffs.
The Attorney-General (Sullivan) and Thomas for the "defendant. (1)
■ The plaintiffs must prove their possession to the time of the trespass committed. To show this, they offer to prove that one of the proprietors entered and set out grass, &amp;c., in the locus in quo. The objection is, that it does not appear he entered by any order of the proprietors, as such. This is a species of corporation different from corporations in general; this is intended to die; those to live forever. I make these observations to show that common law rules, as to corporations in general, do not apply, in all instances, to this kind of corporation. The statutes take away no rights from the individuals composing such a corporation, which, as tenants in common, they had before they were incorporated, but, on the contrary, give them new powers. They can now sue by a corporate name, and need not, as at common law, name each individual in the writ. The common law principle of entry, &amp;c., is not contested by the defendant’s counsel. The same principle must apply * after [ * 165 ] they have incorporated themselves. Whenever individuals are seised, as tenants in common, in their own several rights, they are, in the manner pointed out by law, authorized to incorporate for the purposes and with the powers expressed in the statutes ; and are, by such an incorporation, seised as a corporation ; and that without any corporate act done. It cannot; then, with the least appearance of reason, be contended, that the very circumstance which entitles tenants in common to become incorporated, should leave them precisely as before, instead of giving them a corporate seisin and possession. I therefore thi'nk that the plaintiffs are entitled to the evidence offered.
